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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA                       RECEVET
                                       Case No.
                                                                                AUG 2   t 2f,20
                                                                         c[_^.- .

                                                                                    Dtsrn'cr coL,
UNITED STATES OF AMERICA.                                                 MffI}.'S
                                                                             *.opolrs, n,trrurueborn   ,




                                                           INF O RMATI Oiln
                         Plaintiff,
                                                           18 U.S.C. S 844(i)
         v.                                                18 U.S.C. S 371

 MARC BELL GONZALES.

                         Defendants.

        THE UNITED STATES ATTORNEY CHARGES T}IAT:

                                            COUNT      1
                                             (Arson)

        1.     On or about May 28, 2020, in the State and District of Minnesota, the

defendant,

                                 MARC BELL GONZALES,

knowingly and willfully conspired and agreed with A.H. to commit arson on property

used   in interstate commerce, in violation of Title 18, United States Code, 844(i), all

in violation of Title 18. United States Code. Section 371.

                            PURPOSE OF THE CONSPIRACY

        2.     The purpose of the conspiracy was to commit an act of arson at the Wells

Fargo Bank building located at 3030 Nico1let Ave. South, in the City of Minneapolis,

in the District of Minnesota.

                                      MANNER AND MEANS

        3.     It   was part of the conspiracy that on May 28,2020, defendant Marc BeIl

Gonzales joined other individuals who had gathered at 3030 Nicollet Ave. South, City



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    of Minneapolis, in the District of Minnesota and thereafter engaged in conduct

    designed to accelerate a fire in the Wells Fargo Bank building at 3030 Nicollet Ave.

    South, in the City of Minneapolis, in the District of Minnesota.

                                           OVERT ACT

            4.      In furtherance of the conspiracy and to achieve its objects, the defendant

    committed, directly and through coconspirators, certain overt acts, including but not

    limited to the following:

            5.      On or about May 28, 2020, the defendant poured gasoline onto the

    property of the Wells Fargo Bank building located at 3030 Nicollet Ave. South in the

    City of Minneapolis and District of Minnesota for the purpose of accelerating the fire

    at that location.

           All in violation of Title 18. United States Code. Section 371.




    Date: August 2I,2020                             Enlce H. MacDoNALD
                                                     United States Attornev

                                                     /s/Andrew R. Winter
                                                     ANDREWR. WINTER
                                                     Assistant United States Attorney
                                                     Attorney Reg. No. 0232531MN




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